                                                                                                                                            08/31/2018
Activities Export                                                                                                                              3:41 PM

Date            Type   Description                                      Matter                         User          Hours   Rate ($/hr)    Total ($)

11/07/2017             Email to Cosgriff about failure to comply with   00243-Howell                   Elmer Keach   0.20      350.00         70.00
                        court order.                                     Howell Sanctions Application
                         Unbilled

11/14/2017             Drafted Compliance Letter to Cosgriff            00243-Howell                   Elmer Keach   6.00      350.00      2,100.00
                        regarding deficiencies in discovery              Howell Sanctions Application
                        responses, (3.5) reviewed file for
                        correspondence (.5), reviewed discovery
                        responses at length (2.0)
                         Unbilled

11/15/2017             completed compliance letter and mailed to        00243-Howell                   Elmer Keach   6.20      350.00      2,170.00
                        Cosgriff, (3.7)continued review of file and      Howell Sanctions Application
                        Defendants' various discovery responses
                        (2.5)
                         Unbilled

12/04/2017             Drafted Motion for Sanctions, reviewed           00243-Howell                   Elmer Keach   1.40      350.00       490.00
                        responses from Defendants, email to              Howell Sanctions Application
                        Cosgriff regarding request for extension (.1)
                         Unbilled

12/13/2017             Emails to Cosgriff regarding Defendants'         00243-Howell                   Elmer Keach   0.30      350.00       105.00
                        failure to comply with Court Order,              Howell Sanctions Application
                        Discussed Filing Second Motion for
                        Sanctions
                         Unbilled

12/14/2017             Reviewed Cosgriff Letter to Court, Meeting       00243-Howell                   Elmer Keach   0.20      350.00         70.00
                        with MKD to discuss                              Howell Sanctions Application
                         Unbilled

12/15/2017             Prepared Letter to Court regarding Cosgriff      00243-Howell                   Elmer Keach   0.50      350.00       175.00
                        Request for Conference, finalized and filed      Howell Sanctions Application
                        on ECF system
                         Unbilled

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Activities Export                                                                                                                           3:41 PM

Date            Type   Description                                   Matter                         User          Hours   Rate ($/hr)    Total ($)

12/18/2017             Reviewed Cosgriff Letter to Court Regarding   00243-Howell                   Elmer Keach   0.20      350.00         70.00
                        Discovery Dispute                             Howell Sanctions Application
                         Unbilled

12/19/2017             Reviewed ECF Notice denying hearing           00243-Howell                   Elmer Keach   0.10      350.00         35.00
                         Unbilled                                    Howell Sanctions Application

01/03/2018             Prepared, Finalized and Filed Transcript      00243-Howell                   Elmer Keach   0.40      350.00       140.00
                        Request on ECF system                         Howell Sanctions Application
                         Unbilled

01/11/2018             Transcript Order for September 20, 2017       00243-Howell                   Elmer Keach       -     111.55       111.55
                        Discovery Hearing                             Howell Sanctions Application
                         Unbilled

01/11/2018             received Court transcript, email with Maria   00243-Howell                   Elmer Keach   0.20      350.00         70.00
                        about receipt, possible contact with the      Howell Sanctions Application
                        Court.
                         Unbilled

01/16/2018             drafted second motion for sanctions, (2.5)    00243-Howell                   Elmer Keach   6.50      350.00      2,275.00
                        reviewed Defendants' discovery responses,     Howell Sanctions Application
                        reviewed and summarized transcript of Court
                        Proceeding, (2.0) reviewed court documents
                        and past motion filings (1.0), summarized
                        past procedural history of case (1.0)
                         Unbilled

01/17/2018             Assisted in Prep for Motion DN 43             00243-Howell                   Maria Dyson   3.10      250.00       775.00
                        i. Locating and preparing exhibits (.8)       Howell Sanctions Application
                        ii. Reviewing Affidavit (.3)
                        iii. Meeting with Bob (.5)
                        iv. Researched standard for sanction, draft
                        legal section (p. 3-5) (1.5)
                         Unbilled


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Date            Type   Description                                       Matter                         User          Hours   Rate ($/hr)    Total ($)

01/17/2018             continued drafting Second Motion for              00243-Howell                   Elmer Keach   14.00     350.00      4,900.00
                        Sanctions, continued summarizing transcript       Howell Sanctions Application
                        of court proceedings, case docket, (2.2),
                        phone calls with Maria about Exhibits (.2),
                        reviewed, summarized in affirmation and
                        numbered extensive exhibits for motion
                        filing, including review of correspondence,
                        compliance letter, discovery responses,
                        discovery documents, and email (7.4),
                        research on standard for sanctions, striking
                        of answer, willful noncompliance (1.5),
                        reviewed and revised MKD memo of law on
                        sanctions, drafted introduction (1.5),
                        prepared cert of service (.2), compiled all
                        papers for filing, filed on ECF system (1.0)
                         Unbilled

01/19/2018             Reviewed Court scheduling order                   00243-Howell                   Elmer Keach   0.20      350.00         70.00
                         Unbilled                                        Howell Sanctions Application

02/08/2018             Reviewed CMC response to Motion for               00243-Howell                   Elmer Keach   0.40      350.00       140.00
                        Sanctions                                         Howell Sanctions Application
                         Unbilled

02/09/2018             Reviewed email from Court about motion            00243-Howell                   Elmer Keach   0.30      350.00       105.00
                        filing, direction to Thabie to forward hard       Howell Sanctions Application
                        copy to chambers.
                         Unbilled

02/22/2018             Travel Time to and from Rochester for             00243-Howell                   Elmer Keach   6.50      175.00      1,137.50
                        Sanctions Hearing                                 Howell Sanctions Application
                         Unbilled

02/22/2018             Preparation for Hearing, including review of      00243-Howell                   Elmer Keach   5.90      350.00      2,065.00
                        motion papers, lunch meeting with Maria to        Howell Sanctions Application
                        strategize for hearing presentation (2.5), pre-


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Date            Type   Description                                       Matter                         User          Hours   Rate ($/hr)    Total ($)

                        and post-hearing meetings with client (.4),
                        participate in hearing before Magistrate
                        Judge Payson, participate in oral argument,
                        meeting with Judge Payson's law clerk in
                        effort to reach agreement, continuation of
                        hearing with Court (3.0 hours)
                         Unbilled

02/22/2018             450 miles round trip drive from Albany to         00243-Howell                   Elmer Keach       -     263.39       263.39
                        Rochester, $.545 per mile, thruway tolls,         Howell Sanctions Application
                        $18.14
                         Unbilled

02/22/2018             Meals-Breakfast, Dinner                           00243-Howell                   Elmer Keach       -       64.98        64.98
                         Unbilled                                        Howell Sanctions Application

02/22/2018             Travel Time to and from Rochester for             00243-Howell                   Maria Dyson   6.50      125.00       812.50
                        Sanctions Hearing                                 Howell Sanctions Application
                         Unbilled

02/22/2018             Preparation for Hearing, including review of      00243-Howell                   Maria Dyson   5.90      250.00      1,475.00
                        motion papers, lunch meeting with Maria to        Howell Sanctions Application
                        strategize for hearing presentation (2.5), pre-
                        and post-hearing meetings with client (.4),
                        participate in hearing before Magistrate
                        Judge Payson, participate in oral argument,
                        meeting with Judge Payson's law clerk in
                        effort to reach agreement, continuation of
                        hearing with Court (3.0 hours)
                         Unbilled

02/22/2018             Parking                                           00243-Howell                   Elmer Keach       -        4.50         4.50
                         Unbilled                                        Howell Sanctions Application

02/26/2018             Reviewed Court Order                              00243-Howell                   Elmer Keach   0.20      350.00         70.00
                         Unbilled                                        Howell Sanctions Application

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Date            Type   Description                                      Matter                         User          Hours   Rate ($/hr)    Total ($)

03/07/2018             Reviewed Cosgriff letter, Court Order            00243-Howell                   Elmer Keach   0.20      350.00         70.00
                         Unbilled                                       Howell Sanctions Application

03/19/2018             Email to Cosgriff regarding request for          00243-Howell                   Elmer Keach   0.50      350.00       175.00
                        extension, deficiencies in production (.3),      Howell Sanctions Application
                        internet research on weather in Philadelphia
                        (.2)
                         Unbilled

04/04/2018             Email to Cosgriff about production, prepared,    00243-Howell                   Elmer Keach   0.50      350.00       175.00
                        finalized and filed transcript request           Howell Sanctions Application
                         Unbilled

04/11/2018             Exchange of email with Cosgriff regarding        00243-Howell                   Elmer Keach   0.20      350.00         70.00
                        document production                              Howell Sanctions Application
                         Unbilled

04/11/2018             drafted, finalized and filed letter to court     00243-Howell                   Elmer Keach   0.40      350.00       140.00
                        regarding filing supplemental motion for         Howell Sanctions Application
                        sanctions
                         Unbilled

04/16/2018             email to Thabie about getting court transcript   00243-Howell                   Elmer Keach   0.10      350.00         35.00
                         Unbilled                                       Howell Sanctions Application

04/30/2018             Transcript Order -- February 22, 2018            00243-Howell                   Elmer Keach       -     208.05       208.05
                        Sanctions Hearing                                Howell Sanctions Application
                         Unbilled

06/01/2018             Reviewed Keach affirmation                       00243-Howell                   Maria Dyson   0.50      250.00       125.00
                         Unbilled                                       Howell Sanctions Application

06/01/2018             prepared and finalized supplemental              00243-Howell                   Elmer Keach   11.30     350.00      3,955.00
                        affirmation in support of motion for             Howell Sanctions Application
                        sanctions, (2.9), reviewed prior court filings
                        and prior motions (1.0), reviewed and

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Date            Type   Description                                     Matter                         User          Hours   Rate ($/hr)    Total ($)

                        summarized transcript of hearing before the
                        Court (2.0), reviewed Defendants' discovery
                        responses (1.5), internet research on
                        corporate tax returns, Schedule K-1 (1.5).
                        Compiled, finalized and filed on ECF system
                        (.7). Prepared cert of service (.2).
                         Unbilled

08/20/2018             Prep time for Sanctions Hearing                 00243-Howell                   Maria Dyson   2.50      250.00       625.00
                                                                        Howell Sanctions Application
                        o Review prior Motions to compel/Sanctions/
                        responses thereto, compared Defendants
                        supp responses to demands. Prepared chart
                        of all deficient responses (2.0)
                        o Telephone conference with Bob about
                        preparing for hearing (.2)
                        o Discussion with Client hearing, and
                        grievances he filed. (.3)
                         Unbilled

08/21/2018             Parking                                         00243-Howell                   Maria Dyson       -        3.00         3.00
                         Unbilled                                      Howell Sanctions Application

08/21/2018             Meals (coffee, pastry, water/snacks for road,   00243-Howell                   Maria Dyson       -       19.28        19.28
                        lunch.)                                         Howell Sanctions Application
                         Unbilled

08/21/2018             Gas for rental car                              00243-Howell                   Maria Dyson       -       25.35        25.35
                         Unbilled                                      Howell Sanctions Application

08/21/2018             Rental Car                                      00243-Howell                   Maria Dyson       -     151.37       151.37
                         Unbilled                                      Howell Sanctions Application

08/21/2018             Tolls                                           00243-Howell                   Maria Dyson       -       19.10        19.10
                         Unbilled                                      Howell Sanctions Application



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Date            Type   Description                                       Matter                         User           Hours   Rate ($/hr)      Total ($)

08/21/2018             Travel Time:                                      00243-Howell                   Maria Dyson     7.50     125.00         937.50
                                                                          Howell Sanctions Application
                        Picking up, filling gas, and return rental car,
                        round trip drive to Syracuse.
                         Unbilled

08/21/2018             Prep before Hearing                               00243-Howell                   Maria Dyson     1.00     250.00         250.00
                        * going over chart of deficient responses,        Howell Sanctions Application
                        reading prior hearing transcript/Meeting with
                        Client (.8)
                        Post Hearing Meeting with Client (.2)
                         Unbilled

08/21/2018             Hearing on 2nd Sanctions Motion;                  00243-Howell                   Maria Dyson     1.20     250.00         300.00
                        discussion with Bob about hearing and             Howell Sanctions Application
                        strategizing going forward
                         Unbilled

08/21/2018             Telephone call with Maria regarding               00243-Howell                   Elmer Keach     0.60     350.00         210.00
                        sanctions hearing                                 Howell Sanctions Application
                         Unbilled

08/22/2018             Reviewed Court Order awarding sanctions           00243-Howell                   Elmer Keach     0.20     350.00           70.00
                         Unbilled                                        Howell Sanctions Application

08/22/2018             Reviewed Decision and Order from Court on         00243-Howell                   Maria Dyson     0.20     250.00           50.00
                        Sanctions Motion.                                 Howell Sanctions Application
                         Unbilled

                                                                                                                       92.10h                 $27,378.07




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